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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:
 FINANCIAL BUSINESS AND CONSUMER SOL CHAPTER 7
DEBTOR(S)                                             BANKRUPTCY NO. 24-13029-AMC

                    NOTICE OF CHANGE FROM NO ASSET TO ASSET
                    AND REQUEST TO THE CLERK TO FIX BAR DATE
                       TO FILE CLAIMS AGAINST THE ESTATE


        TO FREDERIC J. BAKER, SENIOR ASSISTANT UNITED STATES TRUSTEE,
Christine C. Shubert, the Trustee in the above captioned matter, after due inquiry, having
discovered assets hereby gives Notice that this is an Asset case. The Trustee also requests the
Clerk to fix a bar date to file claims against the estate.


Dated: 08/30/2024                               /s/ Christine C. Shubert, Esquire
                                                Chapter 7 Trustee
